                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF ALABAMA

IN RE:                                                       Case No. 15-33410-WRS
                                                             Chapter 13
ALONZO ARRINGTON
SSAN: XXX-XX-5917

APRIL BATTLE
SSAN: XXX-XX-0937

                             Debtor (s)

PURSUANT TO LOCAL RULE 1017-1, THIS CASE MAY BE DISMISSED WITHOUT FURTHER
NOTICE OR HEARING UNLESS A RESPONSE IS FILED BY A PARTY IN INTEREST WITHIN 21 DAYS
OF THE DATE OF SERVICE. RESPONSES MUST BE SERVED UPON THE MOVING PARTY AND, IN
THE MANNER DIRECTED BY LOCAL RULE 5005-1, FILED WITH THE CLERK ELECTRONICALLY
OR BY U.S. MAIL ADDRESSED AS FOLLOWS: CLERK, U.S. BANKRUPTCY COURT, ONE CHURCH
STREET, MONTGOMERY, AL 36104.

This pleading is being filed and noticed pursuant to M.D. Ala., LBR 9007-1 procedures for the following:
Dismissal LBR Rule 1017-1

                                     TRUSTEE'S MOTION TO DISMISS
    COMES NOW, Sabrina L. McKinney, Chapter 13 Trustee for this district, and moves the Court to
dismiss the above entitled case pursuant to 11 U.S. C., §1307 (and LBR 1017-1), in that the debtor's
actions have caused unreasonable delay that is prejudicial to creditors. As grounds for said motion, the
Trustee states as follows:

    The debtor filed a petition seeking relief under Chapter 13 of the United States Bankruptcy Code on
    December 04, 2015.

    The debtor has failed to make payments to the Trustee pursuant to the terms of the debtor 's
    Chapter 13 plan.

    The debtor's payments to the Trustee are being paid as the following:

    DEBTOR NAME                                           AMOUNT              FREQUENCY            START DATE

    ALONZO ARRINGTON                                         156.00           BI-WEEKLY             01/03/2016
    ALONZO ARRINGTON                                         243.00           BI-WEEKLY             02/22/2016
    ALONZO ARRINGTON                                         220.00           BI-WEEKLY             12/29/2016
    ALONZO ARRINGTON                                         220.00           BI-WEEKLY             01/05/2017

    The following is a list of all payments made to the Trustee within the last 180 days:

    $440.00     10/03/2017        8587    ($440.00)   10/05/2017      8587
    $440.00     10/05/2017        8587    $440.00     03/13/2018      9908

   The overall pay record with the Trustee is 56.46% and the debtor 's total plan delinquency is $5,855.59.




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   WHEREFORE, the above premises considered, the Trustee moves this Honorable Court for an
Order dismissing the debtor's case and for any such other relief to which the Trustee may be entitled.

Respectfully submitted this, 3/29/2018.
                                                                Sabrina L. McKinney
                                                                Chapter 13 Standing Trustee

                                                                /s/ Sabrina L. McKinney
                                                                Sabrina L. McKinney
                                                                Chapter 13 Standing Trustee

Office of the Chapter 13 Trustee
P.O. Box 173
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Phone: (334)262-8371
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email: 13Trustee@ch13mdal.com

                                          CERTIFICATE OF SERVICE

    I hereby certify that I have served a copy of the foregoing Motion to Dismiss on the debtor 's and the
debtor's attorney, by placing them in the United States Mail, postage prepaid, and properly addressed, or
by electronic mail.

    Done, this March 29, 2018.
                                                                 /s/ Sabrina L. McKinney
                                                                 Sabrina L. McKinney
                                                                 Chapter 13 Standing Trustee




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